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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DISTRICT OF MARYLAND
                              (NORTHERN DIVISION)

                                   )
JEFFREY DOYLE, ET AL.              )
                                   )
      Plaintiff                    )
                                   )
vs.                                )  Case No. 1:16-cv-03501-RDB
                                   )  (Consolidated Cases)
FRONTLINE ASSET STRATEGIES, LLC, )
ET AL.                             )
                                   )
      Defendants                   )
                                   )
                    STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff, and Levy & Associates, P.C., pursuant to the provisions of Paragraph 35 of the

 Class Action Settlement this case (ECF No. 39-1) stipulate that the above-entitled matter be

 entered as settled and dismissed as to Defendant Levy & Associates, LLC only. This Stipulation

 will not effect the present Court Order approving the Class Action Settlement Agreement and

 Release in this case (ECF No. 46).

                                                THE LAW OFFICES
 SANTONI, VOCCI & ORTEGA, LLC                    OF RONALD S. CANTER, LLC


 /s/ Jane Santoni                               /s/ Ronald S. Canter
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                                                Phillips & Levy, P.C. and Levy and Associates,
                                                LLC




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